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                             HP INC.
                           9
                          10                            UNITED STATES DISTRICT COURT
                          11                      NORTHERN DISTRICT OF CALIFORNIA
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                          12
                          13 LOUIS HICKS, an individual, on behalf              Case No.
                             of himself, the general public, and those
                          14 similarly situated,                                DEFENDANT HP INC.’S
                                                                                NOTICE OF REMOVAL OF
                          15               Plaintiff,                           ACTION TO THE UNITED
                                                                                STATES DISTRICT COURT FOR
                          16 v.                                                 THE NORTHERN DISTRICT OF
                                                                                CALIFORNIA UNDER 28 U.S.C.
                          17 HP INC.,                                           §§ 1332, 1441, 1446, 1453
                                                                                (DIVERSITY AND CAFA
                          18               Defendant.                           REMOVAL)
                          19                                                    [Table of Contents of Exhibits filed
                                                                                concurrently herewith]
                          20
                                                                                [Santa Clara County Superior Court
                          21                                                    Case No. 17CV317178]
                          22
                                                                                Complaint Filed: 10/11/2017
                          23                                                    Trial Date:    TBA
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                               DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA UNDER 28 U.S.C. §§ 1332, 1441, 1446, 1453 (DIVERSITY
                                                                AND CAFA REMOVAL)
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                           1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                           2 THE NORTHERN DISTRICT OF CALIFORNIA:
                           3         PLEASE TAKE NOTICE that Defendant HP Inc. (hereinafter “HP”), hereby
                           4 removes to this Court the action originally commenced in the Superior Court of
                           5 California for the County of Santa Clara, entitled Hicks v. HP Inc., Case No.
                           6 17CV317178 (“State Court Action”). This removal is made pursuant to 28 U.S.C.
                           7 sections 1332, 1441, 1446, and 1453.
                           8                               STATEMENT OF THE CASE
                           9         1.     On October 11, 2017, Plaintiff Louis Hicks commenced State Court
                          10 Action.
                          11         2.     Plaintiff has brought this action as a putative class action purportedly on
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                          12 behalf of “all persons, natural or otherwise, who, while residing in California,
                          13 purchased a Purported USB 3.1 Laptop.” (Complaint, ¶ 51.)
                          14         3.     As explained below, this Court has original jurisdiction over this action
                          15 pursuant to 28 U.S.C. section 1332(d) based upon the diversity-of-citizenship and
                          16 amount-in-controversy requirements applicable to class actions. The diversity-of-
                          17 citizenship requirement of 28 U.S.C. section 1332(d)(2)(A) is satisfied because at
                          18 least one member of the putative Plaintiff class is a citizen of a State different from at
                          19 least one Defendant. The diversity-of-citizenship requirement of 28 U.S.C. section
                          20 1332(d)(2)(B) is satisfied because at least one member of the putative Plaintiff class is
                          21 a citizen of a foreign state and Defendant is a citizen of two States. The amount-in-
                          22 controversy requirement of 28 U.S.C. § 1332(d)(2) is satisfied because the aggregate
                          23 alleged claims of the individual members of the putative class exceed the sum or
                          24 value of $5,000,000, exclusive of interest and costs. Removal jurisdiction under
                          25 CAFA was not apparent from the face of the initial complaint because the amount in
                          26 controversy was not alleged and also because the initial complaint did not allege the
                          27 citizenship (which is distinct from residence) of members of the putative Plaintiff
                          28
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                                DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA UNDER 28 U.S.C. §§ 1332, 1441, 1446, 1453 (DIVERSITY
                                                                 AND CAFA REMOVAL)
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                           1 class. The first pleading or “other paper” from which the total amount in controversy
                           2 was ascertainable was an e-mail sent on March 18, 2019, by counsel for Plaintiff to
                           3 counsel for HP, which represented that the amount in controversy exceeded
                           4 $5,000,000 (the “March 18, 2019 Letter”). See 28 U.S.C. § 1446(b)(3). On or about
                           5 April 11, 2019, HP’s investigation confirmed for the first time that at least one
                           6 member of the putative Plaintiff class is a citizen of either a State or foreign state
                           7 different than Defendant.
                           8                                      BASIS FOR REMOVAL
                           9            4.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
                          10 1332, 1441, and 1446 and the Class Action Fairness Act of 2005 (“CAFA”), Pub. L.
                          11 109-2, 199 Stat. 4 (2005).1
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                          12            5.     Under CAFA, a district court has original jurisdiction over any class
                          13 action in which: (1) the amount in controversy exceeds $5,000,000; (2) there is
                          14 minimal diversity, i.e., any member of a class of plaintiffs is a citizen of a State
                          15 different from any defendant; (3) the number of members of all proposed plaintiff
                          16 classes in the aggregate is greater than 100. 28 U.S.C. §§ 1332(d)(2), (d)(5).
                          17 Diversity of Citizenship
                          18            6.     This action meets the CAFA minimal-diversity requirement. The named
                          19 Plaintiff, Louis Hicks, is, and at all relevant times was, a resident of the state of
                          20 California. (Complaint, ¶ 4.)
                          21            7.     Defendant HP Inc. is a corporation incorporated under the laws of the
                          22 State of Delaware, having its principal place of business in Palo Alto, California.
                          23 (Complaint, ¶ 5.) Defendant HP Inc. is therefore a citizen of Delaware and
                          24 California. See 28 U.S.C. § 1332(c)(1).
                          25
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                              The Class Action Fairness Act of 2005 is codified in 28 U.S.C. §§ 1332(d), 1453,
                          28 and 1711-1715.
                                                                    2
                                   DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA UNDER 28 U.S.C. §§ 1332, 1441, 1446, 1453 (DIVERSITY
                                                                    AND CAFA REMOVAL)
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                           1         8.     The number of members of the proposed putative classes is greater than
                           2 100. The Complaint alleges that, “The precise number of members in the Class is not
                           3 yet known to Plaintiff, but he estimates that it is well in excess of 1,000 people.”
                           4 (Complaint, ¶ 53.)
                           5         9.     For purposes of determining diversity of citizenship, the court looks at
                           6 “all members in a class.” 28 U.S.C. § 1332(d)(1)(A). Here, the members of the
                           7 putative class are alleged to be “all persons who, while residing in California,
                           8 purchased a Purported USB 3.1 Laptop” (Complaint, ¶ 51), and thus can be citizens
                           9 of any state. King v. Great American Chicken Corp, Inc., 903 F.3d 875, 879 (9th Cir.
                          10 2018) (“A person’s state of citizenship is established by domicile, not simply
                          11 residence, and a residential address in California does not guarantee that the person’s
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                          12 legal domicile was in California”). The requisite minimal diversity of citizenship
                          13 exists, pursuant to 28 U.S.C. section 1332(d)(2)(A), because at least one member of
                          14 the putative Plaintiff class is a citizen of a State different from HP. In particular, at
                          15 least one member of the putative Plaintiff class is neither a citizen of California nor
                          16 Delaware, and is in fact domiciled in and a citizen of Pennsylvania. The requisite
                          17 minimal diversity of citizenship also exists, pursuant to 28 U.S.C. section
                          18 1332(d)(2)(B), because at least one member of the putative Plaintiff class is a citizen
                          19 or subject of a foreign state, and HP is a citizen of two U.S. States. In particular, at
                          20 least one member of the putative Plaintiff class is a citizen of India.
                          21 Amount in Controversy
                          22         10     The amount placed in controversy by the averments of the Complaint
                          23 and the March 18, 2019 Letter (accepting such averments as “true” for this purpose
                          24 only) exceeds the $5,000,000, exclusive of interest and costs, required under Section
                          25 1332(d)(2) of CAFA.
                          26         11.    Plaintiff seeks, among other relief, “An award of compensatory damages
                          27 in the amount of the price premium paid. . . .” (Complaint, Prayer for Relief, A.1.)
                          28
                                                                             3
                                DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA UNDER 28 U.S.C. §§ 1332, 1441, 1446, 1453 (DIVERSITY
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                           1 The March 18, 2019 Letter sets forth a specific dollar amount that represents the
                           2 settlement value of the price premium class members allegedly paid. When the
                           3 amount specified in the March 18, 2019 Letter is multiplied by either the number of
                           4 units sold or potential putative class members, the total amount in controversy
                           5 exceeds $5,000,000.
                           6         12.    Therefore, the amount placed in controversy by the March 18, 2019
                           7 Letter exceeds the jurisdictional minimum of $5 million. See 28 U.S.C. §
                           8 1332(d)(6)(“In any class action, the claims of the individual class members shall be
                           9 aggregated to determine whether the matter in controversy exceeds the sum or value
                          10 of $5,000,000, exclusive of interest and costs.”).
                          11               ALL PROCEDURAL REQUIREMENTS FOR REMOVAL
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                          12                                 HAVE BEEN SATISFIED.
                          13         13.    Removal to Proper Court. Pursuant to 28 U.S.C. section 1446(a), HP is
                          14 filing this Notice of Removal in the United States District Court for the Northern
                          15 District of California, which is the federal district encompassing the state court where
                          16 the State Court Action is pending, which is the Superior Court of the State of
                          17 California for the County of Santa Clara.
                          18         14.    Removal is Timely. This action has been removed in accordance with
                          19 the requirements of 28 U.S.C. section 1446(b). Where, as here, “the case stated by
                          20 the initial pleading is not removable, a notice of removal may be filed within 30 days
                          21 after receipt by the defendant, through service or otherwise, of a copy of an amended
                          22 pleading, motion, order or other paper from which it may first be ascertained that the
                          23 case is one which is or has become removable[.]” 28 U.S.C. § 1446(b)(3). Here,
                          24 removal jurisdiction under CAFA was not apparent from the face of the initial
                          25 complaint because the complaint did not specify the amount in controversy or the
                          26 citizenship of the putative class members. On March 18, 2019, counsel for Plaintiff
                          27 sent an e-mail to counsel for HP attaching a settlement proposal which indicated that
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                               DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA UNDER 28 U.S.C. §§ 1332, 1441, 1446, 1453 (DIVERSITY
                                                                AND CAFA REMOVAL)
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                           1 the total amount in controversy exceeded $5,000,000. This March 18, 2019 Letter
                           2 was the first “amended pleading, motion, order or other paper” from which HP could
                           3 ascertain that the case met the amount-in-controversy requirement. HP promptly
                           4 removed the action within 30 days of receiving that e-mail, pursuant to 28 U.S.C.
                           5 section 1446(b).
                           6         15.   Pleadings and Process. Pursuant to 28 U.S.C. section 1446(a), true and
                           7 correct copies of all of process, pleadings and orders served upon HP in the State
                           8 Court Action are attached as exhibits hereto. A table of contents listing the exhibits
                           9 also is attached.
                          10         16.   HP’s Consent to Removal Sufficient. HP is the only defendant named in
                          11 this action. Therefore, no further consent is required. 28 U.S.C. § 1453(b) (class
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                          12 action may be removed by any defendant under CAFA).
                          13         17.   Notice. Written notice of the filing of this Notice of Removal will be
                          14 promptly served upon counsel for Plaintiff. HP also will promptly file a copy of this
                          15 Notice with the Clerk of the Superior Court of California, County of Santa Clara.
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                               DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA UNDER 28 U.S.C. §§ 1332, 1441, 1446, 1453 (DIVERSITY
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                          1                                        CONCLUSION
                          2         18.    By this Notice of Removal and the associated attachments, HP does not
                          3 waive any objections it may have as to service, jurisdiction or venue, or any other
                          4 defenses or objections it may have to this action. HP intends no admission of fact,
                          5 law or liability by this Notice, and it expressly reserves all defenses, motions and/or
                          6 pleas. HP prays that the State Court Action be removed to this Court, that all further
                          7 proceedings in the state court be stayed, and that HP receive all additional relief to
                          8 which it is entitled.
                          9
                          10 DATED: April 16, 2019                       DOLL AMIR & ELEY LLP
                          11
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                          12                                             By:_/s/ Hunter R. Eley________________
                                                                             GREGORY L. DOLL
                          13                                                 HUNTER R. ELEY
                                                                             CONNIE Y. TCHENG
                          14                                                 LLOYD VU
                                                                         Attorneys for Defendant,
                          15                                             HP INC.
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                               DEFENDANT HP INC.’S NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT
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